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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION


 UNITED STATES OF AMERICA,

 v.                                                            Case No. 8:12-CR-205-T-17MAP

 NATHANIEL HARRIS,
 NAPOLEAN HARRIS,
 CHARLIE GREEN,
 JERRY GREEN,
 COREY HARRIS,
 DEONTE MARTIN
 _______________________________________/

                             REPORT AND RECOMMENDATION1

        BEFORE THE COURT are Defendant Charlie Green's motion to suppress evidence seized

 in unlawful search of 639 24th Street East, Bradenton, FL or in alternative for a Franks hearing (doc.

 486) and the Government's response thereto (doc. 581), Defendant Charlie Green's supplemental

 motion to suppress cell records (doc. 506) and the Government's response thereto (doc. 576), and

 Defendant Jerry Green's motion to suppress involuntary statements (doc. 482) and the Government's

 response thereto (doc. 565). For the reasons set forth in the Government's responses, and at the

 March 4, 2016 hearing, it is hereby

        RECOMMENDED:

        1. Defendant Charlie Green's motion to suppress evidence seized in unlawful search of 639

 24th Street East, Bradenton, FL or in alternative for a Franks hearing (doc. 486) be DENIED as

 MOOT.




        1
         The Clerk is directed to vacate my March 4, 2016 report and recommendation (doc. 597),
 which omitted a “Notice to Parties.” This report and recommendation replaces my previous one.
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        2. Defendant Charlie Green's supplemental motion to suppress cell records (doc. 506) be

 DENIED as MOOT.

        3. Defendant Jerry Green's motion to suppress involuntary statements (doc. 482) be DENIED

 as MOOT.

        IT IS SO REPORTED at Tampa, Florida on March 9, 2016.




                                      NOTICE TO PARTIES

        A party has fourteen days from this date to file written objections to the Report and

 Recommendation’s factual findings and legal conclusions. A party’s failure to file written objections

 waives that party’s right to challenge on appeal any unobjected-to factual finding or legal conclusion

 the district judge adopts from the Report and Recommendation. See11th Cir. R. 3-1.
